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                             Exhibit “D”
                                                --------                                    ·····---   --

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                                    MECHANICAL EQUIPMENT
                                             AND SERVICE
                                             AGREEMENT

                                                 between




                                                and the




                                            Effective Dates
                              October 1, 2013 through September 30, 2016

                                              ®~'"""
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          Pltirhbers Local UOion No. 1
          158-29 George Meany Blvd.
          H.oward-Beach,-·NY 11414                                MECHANICAL EQUIPMENT
          Phone:      1-718-738-7500
          Fax:        1-718~.835 7 0896 ·                                  AND SERVICE
          www.ualocall.org
          Jo.int Plumbing ·I~dustry Board
                                                                            AGREEMENT
          158-29 George Meany Blvd.
          Howard Beach, NY 11414                                                 between
          Phone:      1-718-835-2700
          Fax:        1-718-641-8155
          www.ualocallfunds.org                                 THE UNITED A,S~!)CIATION OF
          Trade Education Facility                             JOURNEYMEN;ANfi ~PI'RENTICES
                                                                         T~iPLP~~~~~AND
          Plumbers Local Union No. l
          37-1147thAvenue                                           OF
          Long Island City, NY 11101
          Phone:     1-718_:752-9630                             PIPE FI'J\T~yg'U\JISTRY of the
          Fax:       1~718-75+-9634
          www.ualocalltraining'.org
                                                                  UNITED 'srkfES ojJ(dtANADA
                                                                               ···· ..   \'o r·~l'·   //

          :Plumbers                                                 LOCAL UNION NUMBER 1
          103 Oronoco Street
          A1exaildria, Virginia 22314                                                and the
          Phone:      1-800-638-7442
          Fax:        1-301-739-9017
          www.ppnpf.org                                                  ASSOCIATION OF
           United Association
           Three Park Place                                        CONTRAQTJNG PLUMBERS
         . Annapolis, Maryland 21401
           Phone:     1-410-269-2000
                                                               OF THE     ciY\-'Bi NEW YORK, INC.
           Fax:       1-410-267-0262
           www.ua.org.
          Associatiori of Contracting Plumbers
          Of the City ofNew York, Inc.
          44 West 28th Street, 12th FlOor
          New York, NY 10001                                                  Effective Dates
          Phone:      1-212-481-4580                             October 1, 2013 through September 30,2016
          Fax:        1-212-481-7185
          www.acpny.org
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                                                               all such work. This Agreement is and shall be binding
 AGREEMENT effective the Jst day of October, 2013 by           upon the Employer and his/her or its successors, assi?,ns,
 and between the ASSOCIATION OF CONTRACTING                    beneficiaries and legal representatives, and each officer
 PLUMBERS OF THE CITY OF NEW YORK, INC.                        of the Employer. The Employers and the Union agree to
 hereinafter designated as the ''Association," acting          be bound by any contract renewal, changes, modifications
 on behalf of its members including such plumbing              and extensions which may be negotiated after this day
 contractors as may be admitted to membership in its           and put into effect by and between Plumbers Local No.' 1
 Association during the lite of this Agreement, and/or any     and the Association of Contracting Plumbers of the Ctty
 extension or renewals thereof, and LOCAL UNION NO. 1          of New York, Inc. except as set forth in Article XVI.
 OF THE UNITED ASSOCIATION OF JOURNEYMEN
 AND APPRENTICES OF THE PLUMBING AND PIPE                                       BARGAINING UNIT
 FITTING INDUSTRY OF THE UNITED STATES AND
 CANADA, hereinafter designated as the "Union," as the            WHEREAS, the ASSOCIATION OF CONTRACTING
 collective bargaining representative for all Journeymen       PLUMBERS OF THE CITY OF NEW YORK, INC. is an
 and Helpers engaged in Mechanical Equipment and               association of plumbing contractorS employing workers
 Service Division work in the 5 counties comprising New        performing both construction and Me_chanical Equ.ip-
 York City. All Employers that are bound, committed,           ment and Service Division work, desirous of dealing
 covered or otherwise signed to this Agreement hereby          collectively with the Union with respect to Mechanical
 designate and acknowledge that the said Association is        Equipment and Service Division work and,
 their duly authorized Bargaining Representative in the
 negotiations of the foregoing Agreement and the matters          WHEREAS, the Union is a labor union duly chartered
 therein contained and of any amendment and extensions         as a branch of the United Association of Journeymen and
 that may hereafter be made thereto or in the negotiation of   Apprentices of the Plumbing and Pipe Fitting Industry
 any succeeding Agreements. If the signatory contractor        of the United States and Canada, with jurisdiction in the
 performs on site service work of the type covered by this     five counties which comprise the City ofNew York and is
 Agreement, under its own name or the name of another,         the duly authorized and exclusive bargaining agent for all
 as a corporation, company, partnership, or other business     Journeymen Plumbers and Helpers performing plumbi_ng
 entity, including a joint venture, wherein the Contractor,    installations in the Mechanical Equipment and Servtce
 through its officers, directors, partners, owners or          Division, employed and be employed by the parties to this
 stockholders exercise directly or indirectly (including       Agreement; and
 but not limited to management control, or majority
 ownership through family members), management
 control, or majority ownership through family members,
 management, control or m~ority ownership; the terms
 and conditions of this Agreement shall be applicable to
                                                                                           -3-
                            -2-
                                                                                                                            .I
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      WHEREAS, the Association and the Union desire to
                                                              5 years of practical work experience and successfully
   establish fair and equitable conditions of employment
                                                              completed 2 years of journeymen upgrade classes;
   with respect to Mechanical Equipment and Service
                                                              such member may be eligible to take the Building &
   Division work throughout the industry and to provide
                                                              Construction Trades Journeyman Plumber examination.
   a method for peaceful adjustments of all disputes in
                                                              The Association shall be notified as to the date and time
   order to assure uninterrupted operation and general
   stabilization of the industry;                             of the examination.

                                                                 SECTION 5. No "A" Building Trades Division mem-
   NOW, THEREFORE, IN CONSIDERATION OF                        ber may be employed in the Mechanical Equipment
   THE MUTUAL PROMISES, COVENANTS AND                         and Service Division without the consent of the Union.
   CONDITIONS, hereinafter set forth, the parties agree as
   follows:                                                      SECTION 6.       The parties agree that signatory
                                                              contractors who are not party to the ''A" Building Trades
                        ARTICLE/                              and "Oil Trades" Agreements shall be bound by the
                                                              provisions of those agreements when performing
     SECTION 1. This Agreement applies to Mechanical          plumbing installations deemed as "New Construction"
  Equipment and Service Division work performed in the        or "Pump and Tank".
  five counties which comprise the City of New York and
  any reference to Journeymen or Helpers shall mean,                                ARTICLE II
  unless otherwise indicated, Journeymen and Helpers
  who perform Mechanical Equipment and Service                The parties agree to the following Working Rules:
  Division work.
                                                                RULE 1. On construction jobs, the regularly scheduled
     SECTION 2. This Agreement shall be effective             days of employment of Journeymen and Helpers shall be
  as of October 1, 2013 and shall remain in effect until      Monday to Friday, inclusive, with 8 hours of work on each
  September 30, 2016.                                         day with start times between 7:00a.m. and 9:00a.m. At
                                                              the Employers option, if any other trade commences work
     SECTION 3. Upon hiring any Journeymen or
                                                              earlier, so may the plumber.
  Helpers an Employer must notify the Union which
  shall issue a temporary membership card valid for 60
                                                                 For service work, the regularly scheduled days of
  days. Thereafter, in order to continue employment the
                                                              employment of Journeymen and Helpers shall be Monday
  Employee must be sponsored by such Employer and shall
                                                              to Friday inclusive, with 8 hours of work on each day or
  be accepted as a member of the Local Union.
                                                              10 hours on 4 days with start times from 6:00a.m. to 10:
     SECTION 4. After a Journeyman Plumber has had            00 a.m. and ending no later than 6:30p.m.

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                                                                           to pay fringe benefits required by this Agreement shall
                                                                           be reimbursed for time lost up to three (3) days pay at
           No work shall be performed during any hours other
                                                                           the regular hourly rate by the Employer who defaulted in
        than those specified above or any Saturday, Sunday,
                                                                           payment of the required fringe benefits.
        New Year's Day, President's Day, Memorial Day, Fourth
        of July, Labor Day, Thanksgiving Day, the Friday after                 RULE 3. The Employer is required to post a monthly
        Thanksgiving and Christmas Day, except in case of                  shop card which signifies that the fringe benefits
        emergency, in which event, Employees shall receive time            payments for the Mechanical Equipment and Service
        and one-half for their labor.                                      Division were paid for the previous month. No Employee
                                                                           shall commence or continue working in a shop unless
            Flexible starting times are provided in this Agreement         such card has been issued, is posted and in effect. The
        for service and maintenance under the following terms              card is issued by Plumbers Local Union No. I. All fringe
        and conditions:                                                    benefits are due to the Joint Plumbing Industry Board by
        A) The first shift (day shift) shall be worked between the         the date established by the applicable Trust Fund. A list
        hours of8:00 a.m. and 4:30p.m. Workers on the day shift            of Delinquent Employers shall be furnished to the Union
        shall receive eight (8) hours pay at the regular hourly rate       and the Association monthly, by the Joint Plumbing
        for eight (8) hours work.                                          Industry Board.
        B) The second flhift (swing shift) shall be worked                     RULE 4. Labor has established a Political Action
        between the hours of 4:00 p.m. and 12:30 a.m. Workers               Fund with a five cent ($.05) per hour voluntary
        on the "swing shift" shall receive eight (8) hours pay at           contribution. The Employer shall make the appropriate
        the regular hourly rate.                                            deduction upon presentation from the Union of 1) a proper
        C) Third Shift (graveyard shift) shall be worked between            authorization card signed by the Employee or
        the hours of 12:00 a.m. (midnight) and 8:30a.m. Workers             2) notification from the Union that it has obtained such
        on the "graveyard shift" shall receive eight (8) hours pay          authorization card. The Employer shall forward such
        at the regular hourly rate.                                         deductions to the Joint Plumbing Industry Board for
        D) Workers on the "swing" and "graveyard" shifts shall              transfer to the Union. This rule applies to both Journeyman
        also be paid a 5% differential premium- wages only.                 and Helpers.
        E) A lunch/dinner period of thirty (30) minutes shall be              RULE 5. If a Journeyman or Helper reports to a job
        allowed on each shift.                                              without having been first notified not to report, such
        F) All overtime work required after the completion of               Employee shall be paid one-half (1/2) day's pay.
        regular or shift work shall be paid at one and one-half
        (1Y2) times the hourly rate.                                           RULE 6.lt shall be optional with an Employer that he/
                                                                            she may work himself/herself; but if he/she employs one
           RULE 2. An Employee who is compelled to lose                     or more Employee(s) they shall be Journeymen Plumbers,
        time from work because of the failure of his Employer               except as otherwise provided.

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                                                                     is called out he/she shall be entitled to a half (112) hour
       RULE 7. Work defined under the terms of this                  travel time each way for a total of one (1) hour (wages and
    agreement shall include any repair and/or replacement of         fringes) if the Employee gets the customer to sign a ticket
    the present plumbing system at commercial sites.                 for that travel time.
      RULE 8. This Agreement shall not include work
                                                                     (e) An Employee who works overtime at night shall not lose
    performed for Building Trade projects.                           work the next day except for safety reasons or lack of work.
        RULE 9. (a) The Employer is to furnish all tools
     and equipment necessary to perform the work covered                 RULE 10. Management and Labor agree to the strict
     by this Agreement and no Employee is to furnish any             observance of all City, State and Federal on the job safety
     tools except the Rule and Wiping Cloths. All tools and          requirements including Occupational Safety and Health
     equipment (scaffolds, ladder, etc.) shall at least meet the     Act (OSHA) regulations. It is agreed by Labor that if an
     standard set by the Safety Division of the New York State       Employer is penalized by OSHA and it can be proved that
     Department of Labor.                                            the fine was caused by the di'rcct refusal or neglect of an
                                                                     Employee to comply with OSHA regulations, it will be
     (b) The Employer may keep a record of his/her tools             the obligation of the Employee to make restitution to the
     to guard against loss. Journeymen who receive tools             Employer for the full amount of the penalty. A copy of all
     from the Employer, and for which a receipt is given to           Accident Reports shall be sent to the Union office within
     the Employer, shall be responsible for such lost tools.          five (5) days after each accident, provided the Employee
     Journeymen must replace or pay for lost or missing tools         reported the accident to the Employer. Such reports arc to
     furnished by the Employer and for which the later holds          be used solely as Union Records and for no other purpose.
     a receipt from his/her Journeymen. Responsibility rests
     with the Journeymen during working hours only.
                                                                                       ARTICLE III
     (c) In cases where Employers wish their Employees to                    WAGE AND FRINGE BENEFIT RATES
     wear uniforms, such uniforms and their laundering and
     maintenance will be left to the individual agreements
     between Employers and their Employees.                              Commencing with the effective dates of this
                                                                      Agreement, the Employer agrees to pay to and on behalf
     (d) Employees shall receive one (1) hour wages at the            of his/her Journeymen the rates set forth in Table No. 1.
     straight time rate, including fringe benefits, for Saturday,     The Employer also agrees to pay to and on behalf of the
     Sunday and holiday on-call. If the Employee is called out,       Helpers the rates set forth in Table No. 2.
     the minimum number of hours he/she shall be paid is two
     (2) hours and the one (1) hour on-call pay for that day shall
     be applied to the hours worked that day. When an Employee
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                                                             TABLE NO. 1 -JOURNEYMEN
                                           $5.10 per hour increase over the following six increments

                                                                                              Personal            Hourly               Total
                                                        Hourly              Hourly             Safety             Fringe               Wage
                    Period                             Increases            Wages             Expense             Benefit*           Package
                    10/2/2013 thru 3/3112014              1.01              $38.27              $.28               $12.81             $51.36
                    4/112014 thru 9/30/2014                .59**                                                                       51.36
                    10/112014 thru 3/3112015              1.00                                                                         52.36
                    4/112015 thru 9/30/2015                .75                                                                         53.11
             0
                '
                ~
                                                                                                                                       53.86
                    1011/2015 thru 3/31/2016               .75
                '   4/1/2016 thru 9/30/2016              1.00
                                                                                                                                       54.86

                    All allocations of the above increments will be by the Union.
                    *Includes the following Funds- Welfare, Trade Education, 401(k), Promotion, National Pension and International Training.
                    **For work on or after October 2, 2013, Employers ceased contributions into the Vacation/Holiday Fund and instead paid that
                    amount as wages less the FICA contribution. Also, for work on or after the date, Employers shall send, on a weekly basis, 6% of
                    gross wages to an individual account for each member established at a credit union as selected by the Union. On April!, 2014
                    the total package will be adjusted by $.59/hr. to reflect the cost to the Employer ofthe change from a fringe to a wage.
                    INTERNATIONAL TRAINING FUND: The Employer agrees to make contributions to The International
                    Training Fund often cents ($.10) per hour for each hour worked by all Employees covered under this
                    Agreement.




                    ORGANIZING FUND: Ten cents ($.10} per pay hour shall be deducted from net weekly wages to be used
                    for Local I organizing purposes.

                    PLUMBERS AND PIPEFITTERS NATIONAL PENSION FUND: The Employer agrees to make
                    contributions to The Plumbers and Pipefitters National Pension Fund in accordance with the Standard Form of
                    Participation Agreement.

                    PI IIMBING INDUSTRY PROMOTION FUND: Each Employer is to contribute to the Plumbing Industry
                    Promotion Fund ofNew York City twenty-five cents($ .25) per hour for each pay hour worked by the Employee
                    of the Employer and such contributions may be increased to thirty-five cents ($.35) per hour during the life of
          ,!....    the Agreement by the adoption of a resolution by the Trustees.
          ~


            '
                    EXPENSE ALLOWANCE FOR PERSONAL SAFETY ITEMS: Twenty-eight cents ($.28) per hour shall be
                    paid to Journeymen for each hour worked, (work hour) as an expense allowance to provide the funds for his/her
                    personal safety and health related items. Since this is an expense allowdnce, it should be paid separate from
                    wages and should be paid on the same day and at the same time as wages.


                    UNION ASSESSMENT CHECK-OFF: 2.75% of gross weekly pay shall be deducted from wages as a
                    Union Assessment "Check-off."
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                                                           TABLE NO.2- HELPERS*

                                                                              Wage Per        Personal        Fringe**       Total***
                                                                               Hour            Safety         Benefits       Package
                 lstYear       1st Term      (1st 6 months)                     $10.00           $.28           $.35          $10.63
                 lstYear       2nd Term      (2nd 6 months)                     $13.01           $.28          $8.89          $22.18
                 2nd Year      Helper        Minimum Hourly Wage                $16.57           $.28          $8.89          $25.74
                 3rd Year      Helper        Minimum Hourly Wage                $17.57           $.28          $8.89          $26.74
                 4th Year      Helper        Minimum Hourly Wage                $19.07           $.28          $8.89          $28.24
           ~'    5th Year      Helper        Minimum Hourly Wage                $21,07           $.28          $8.89          $30.24
           N
           '     *Helpers employed in years 2 through 5 shall receive one-half (Y2) of all Journeymen increases.
                 **Includes the following Funds- Welfare, Trade Education, 401(k), Promotion, National Pension and International
                 Training.
                 ***Forwork on or after October2, 2013, Employers ceased contributions into the Vacation/Holiday Fund and instead
                 paid the amount as wages less the FICA contribution. Also, for work on or after the date by 1st year 2nd term- 5th year
                 Helpers, Employers shall send, on a weekly basis, 6% of gross wages to an individual account for each member
                 established at a credit union as selected by the Union. OnAprill, 2014 the total package will be adjusted by $.29/hr. to
                 reflect the cost to the Employer ofthe change from a fringe to a wage.
                 TNTERNATlONAL TRAINING FUND: The Employer agrees to make contributions to The International Training
                 Fund of ten cents ($.1 0) per hour for each hourworkcd by all Employees covered under this Agreement.




                   ORGANIZING FUND: Ten cents ($.10) per pay hour shall be deducted from net weekly wages to be used for
                   Local 1 organizing purposes.

                   PLUMBERS AND PIPEFITTERS NATIONAL PENSION FUND: The Employer agrees to make
                   contributions to The Plumbers and Pipefitters National Pension Fund in accordance with the Standard form of
                   Participation Agreement.

                   PLUMBING INDUSTRY PROMOTION FUND: Each Employer is to contribute to the Plumbing Industry
                   Promotion Fund ofNcw York City twenty-five cents ($.25) per hour for each pay hour worked by the Employee
            ~      of the Employer and such contributions may be increased to thirty-five cents ($.35) per hour during the life of
            lf     the Agreement by the adoption of a resolution by the Trustees.


                   EXPENSE ALI OWANCE FOR PERSONAL SAFETY ITEMS: Twenty-eight cents ($.28) per hour shall
                   be paid to Helpers for each hour worked (work hour), as an expense allowance to provide the funds for his/her
                   personal safety and health related items. Since this is an expense allowance, it should be paid separate from
                   wages and should be paid on the same day and at the same time as wages.

                   UNION ASSESf>'MENT CHECK-OFF: 2.75% of gross weekly pay shall be deducted from wages as a
                   Union Assessment "Check-off'
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II                        ARTICLE IV
                       FRINGE BENEFITS
                                                                   (e)    Each Employee shall also open an individual
        The Employer agrees, in addition to the wages, to                 account to participate in the Plumbers Local
      pay on behalf of each Journeyman and Helper the fringe              No. I Employee 40l(k) Savings Plan. Each
      benefits set forth in Tables 1 and 2.                               Employer of an Employee agrees to be bound
                                                                          to the Trust Agreement of the 401(k) Plan and to
         The allocation ofFringe Benefits as of October 2, 2013           remit all Employee contributions as soon as such
      are as follows:                                                     contributions can be reasonably segregated from
                                                                          the general assets of the Employer but no later than
                          JOURNEYMEN                                      two (2) business days after the end of the payroll
                                                                          period from which the Employee contributions
      (a)   $8.40 per hour for each Journeyman, for each                  were made and deducted from the wages of the
            hour worked, to the Welfare Fund, Mechanical                  Employee. Retention of these contributions by an
            Equipment and Service Division, Plumbers Local                 Employer beyond the period established by the U.S.
            Union No. 1, U.A.                                              Department of Labor r~gulation at 29 CFR 2510.3-
                                                                           102 makes the Employer a fiduciary with respect
      (b)   $2.91 per hour for each Journeyman, for each hour              to such Employee contributions. Failure to remit
            worked, to The Plumbers and Pipcfitters National               Employee contributions on a timely basis shall make
            Pension Fund in accordance with the Standard Form              the Employer liable for interest and any lost earnings
            ofParticipation Agreement.                                     or restoration of profits resulting from the failure to
                                                                           remit on a timely basis. The minimum mandatory
      (c)   $.30 per hour for each Journeyman, for each hour
                                                                           deduction shall be one percent (1%) of the gross
            worked, to the Trade Education Fund, Mechanical
                                                                           weekly wage of each Employee. The maximum
            Equipment and Service Division, Plumbers Local
                                                                           contributions shall be determined by each Employee
            Union No. I, U.A.
                                                                           subject to the laws governing the Fund.
'.I
      (d) $.85 per hour for each Journeyman, for each hour
II        worked, to the 40l(k) Savings Plan, Mechanical            (f)    Each Employee shall open an individual account at a
          Equipment and Service Division, Plumbers Local                   credit union or other financial institution as designated
II        Union No. 1, U.A.                                                and selected by the Union. Each Employer agrees to
                                                                           remit such amounts as required by this Agreement to
                                                                           such individual accounts when payment of wages is
                                                                           due.


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           (g) Fringe Benefits for overtime shall be paid at a straight            contributions can be reasonably segregated from
               time rate except on Target or United Association                    the general assets of the Employer but no later than
               National Residential Agreement jobs in which case                   two (2) business days after the end of the payroll
               fringe benefits shall be paid at time and one half (I Yl).          period from which the Employee contributions
                                                                                   were made and deducted from the wages of the
                                  HELPERS
                              (2nd term- 5th year)                                 Employee. Retention of these contributions by
                                                                                   an Employer beyond the period established by the
           (a)   $6.53 per hour for each Helper, for each hour                     U.A. Department of Labor regulation at 29 CFR
                 worked, to the Welfare Fund, Mechanical Equipment                 2510.3-102 makes the Employer a fiduciary with
                 and Service Division, Plumbers Local Union No. I,                 respect to such Employee contributions. Failure
                 U.A.                                                              to remit Employee contributions on a timely basis
                                                                                   shall make the Employer liable for interest and any
           (b)   $1.40 per hour for each Helper, for each hour                     lost earnings or restoration of profits resulting from
                 worked, to The Plumbers and Pipefitters National                  the failure to remit on a timely basis. The minimum
                 Pension Fund in accordance with the Standard Form                 mandatory deduction shall be one percent (1%) of
                 of Participation Agreement as on file at the Joint                the gross weekly wage of each Employee. The
                 Plumbing Industry Board and made a part of this                    maximum contributions shall be determined by
                 Agreement.                                                         each employee subject to the laws governing the
                                                                                    Fund. Probationary Helpers shall be excluded from
           (c)   $.18 per hour for each Helper, for each hour                       participating in this plan.
                 worked, to the Trade Education Fund, Mechanical
                 Equipment and Service Division, Plumbers Local              (f)   Each Employee shall open an individual account at a
                 Union No. 1, U.A.                                                 credit union or other financial institution as designated
'I                                                                                 and selected by the Union. Each Employer agrees to
III•       (d)   $.43 per hour for each Helper for each hour worked,               remit such amounts as required by this Agreement to
                 to the 401(k) Savings Plan, Mechanical Equipment                  such individual accounts when payment of wages is
                                                                                   due.
il               and Service Division, Plumbers Local Union No. 1,
                 U.A.
li         (e)   Each Employee shall also open an individual                  (g) Fringe Benefits for overtime shall be paid at a straight
                 account to participate in the Plumbers Local                     time rate except on Target or United Association
                 Union No. 1 Employee 40l(k) Savings Plan.                        National Residential Agreement jobs in which case
                 Each Employer of an Employee agrees to be bound                  fringe benefits shall be paid at time and one half (1 Y2).
II               to the Trust Agreement of the 401(k) Plan and to
                 remit all Employee contributions as soon as such

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                                                                      all Journeymen and Helpers from the employ of such
                                                                      defaulting Employer, and he/she shall pay all benefits
                              ARTICLE V                               weekly thereafter.
                              HELPERS
                                                                          Should the Employer fail to pay all contributions to
         S~CTION 1. An Employer who shall become a party               the Joint Plumbing Industry Board as stipulated, as they
      to thts Agreement shall rate all Employees as Journeymen        pertain to the aforementioned Fringe Benefits Funds,
      or Helpers. In the event that the Union objects to the          Political Action Fund, Union Assessment Check-Off
      rating by the Employer, the Trade Education Committee           and the 40l(k) Savings Plan, such Employer shall be
      of the Joint Plumbing Industry Board may reverse the            liable for the payment of such contributions with interest
      Employer's determination.                                       at a rate of ten percent (10%) plus liquidated damages
                                                                      of twenty percent (20%) of the amount owing and all
                                                                      costs including, but not limited to, reasonable audit and
         SECTION ~· . The Employer shall not be required to           accounting expenses, witness costs and attorney's fees,
      pay any contnbutwns for Fringe Benefits other than
                                                                      disbursements and court costs (including arbitration,
      Int~matio~al Tra!ning and Promotion Funds, for Helpers
      dunng thetr first stx ( 6) months as members of this Union.     NLRB or otherwise). The charge to a delinquent
                                                                      Employer for the costs and- expenses of collection and
                                                                      damages to the Joint Plumbing Industry Board shall
        SECTION 3. MES Journeymen and Helpers can                     in no event be less than one hundred dollars ($100) for
     perform work in a ratio no greater than four (4) Helpers         each failure to pay a monthly contribution. This shall
     to one (1) Journeyman per jobsite.                               also apply if the Employer remits on a weekly basis.



                            ARTICLE VI                                                     ARTICLE VII

        The Employer agrees that the contributions for the             Each Employer shall furnish a Surety Bond for the
     fringe benefits referred to in Tables 1 and 2 are due to the    benefit of the Plumbers Local Union No. 1 Welfare
     Joint Plumbing Industry Board by the date established by        Fund and related Funds as agent for collection for each
     the applicable Trust Fund.                                      of the Fringe Benefit Funds to guarantee the payment
                                                                     of all fringe benefits provided for herein. The Union
       The failure on the part of any Employer to make such          shall not issue a shop work card to an Employer who is
     payments promptly when due shall constitute a breach            not so bonded, nor shall the Union permit Journeymen
     of this Agreement authorizing the Union to withdraw             and Helpers to work for an Employer who is not so


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        bonded. The amount of the bond shall be as shown in the
        following schedule:                                                                ARTICLE VIII
                                                                                         PROMOTION FUND
                          AMOUNT OF BOND
                                                                           The Employers have established, by an Agreement
                  Average No. of                                        and Declaration of Trust, a Trust Fund known as the
                  Employees               Monthly                       "Plumbing Industry Promotion Fund of New York City"
                                                                        herein after referred to as the "Promotion Fund" for
                  1-2                   $ 7,000.00                      the mutual benefit of all plumbing contractors who do
                  3-4                    14,000.00                     business in the area. The Agreement and Declaration
                  5-6                    21,000.00                      of Trust of the said Promotion Fund provides that
                  7-8                    28,000.00                     the said Plumbing Industry Promotion Fund shall be
                  9-10                   34,000.00                     administered exclusively by Management Trustees
                  11-20                  58,000.00                     appointed by the Association. Each Employer agrees to
                                                                       be bound by said Trust, amendments thereto and rules
        $40,000.00 for each multiple of 10 Employees plus
                                                                       and regulations thereof and to contribute monthly to the
        appropriate amount for any remainder.
                                                                       Plumbing Industry Promotion Fund of New York City
                                                                       an amount equal to twenty-five cents ($.25) per hour for
                                                                       each pay hour worked by the Employees of the Employer.
                                                                       Such contributions may be increased up to a total of
                                                                       thirty-five cents ($.35) per hour if and when the Trustees
                                                                       of the said fund adopt a resolution for such increases,
                                                                      provided however that 90 days notice of the adoption of
                                                                      such resolution and the effective date of such increases
                                                                      is given to Employers by letter sent to them. Such
                                                                      contributions shall be payable to the Plumbing Indusny
                                                                      Promotion Fund of New York City and are to be remitted
                                                                      to the Joint Plumbing Industry Board (Local No. 1) as
                                                                      collection agent for the Promotion Fund.

                                                                         The prompt payment of the contribution provided for
                                                                      in this Agreement is essential for the continuing efficient
                                                                      operation of the Promotion Fund. An Employer who fails
                                                                      to make such payment shall be liable for the amount of

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       such contribution with interest at a rate of ten percent                   The form of authorization to be signed by each
       (10%) plus liquidated damages of twenty percent (20%)                Journeyman and Helper with respect to whom a deduction
       of the amount owing and all costs including, but not                 is to be made has been approved by counsel for the parties
       limited to, reasonable audit and accounting expenses,                hereto.
       witness costs and attorney's fees, disbursements and
       court costs. The charge to a delinquent Employer for                   It is expressly agreed that the authorizations furnished
       the costs and expenses of collection and damages to                  under this Article shall be of no force and effect and no
       the Promotion Fund shall in no event be less than one                deductions shall be made by an Employer when there is
       hundred dollars ($100) for each failure to pay a monthly             no Collective Bargaining Agreement in effect to which
       contribution. This shall also apply ifthc Employer remits            the Employer and the Union are parties.
       on a weekly basis.
                                                                               lt is expressly agreed that the Union assumes full
                              ARTICLE/X                                     responsibility for the validity and legality of the
                                                                            deductions from the Employee's wage made by each
         The Association and Union agree to implement a                     Employer and remitted to the Union pursuant to this
       viable and comprehensive Journeyman and Helper                       Article and the Union hereby agrees to indemnify and
       Training Program to be directed under the auspices of the            hold the Employer harmless from all claims, losses,
       Plumbers Local Union No. I U.A. Joint Apprenticeship                 expenses, liability and damages to which the Employer
       Training Committee.                                                  at any time may be subject by reason thereof. If any such
                                                                            claim is asserted or threatened against the Employer, the
                        ARTICLE X                                           Union and the Employers agree that the Union, at its sole
              CHECK-OFF OF UNION ASSESSMENT                                 cost and expense shall undertake the defense of such
                                                                            claim on behalf of the Employer and the Employer shall
          Each Employer agrees to deduct weekly from the wages              cooperate with the Union in the defense thereof.
       of each Journeyman and Helper Employee, covered by this
       Collective Bargaining Agreement who individually, in
       writing duly authorizes the Employer to make such
       deduction for Union Assessments, the sum of two and three
       quarters percent (2.75%) of gross weekly wages for the
       preceding week. Each Employer shall remit such
       deduction monthly to the Joint Plumbing Industry Board
       as the collection agent for the Union. The original signed
       authorization cards shall be kept on file at the offices of the
       Union.


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                         ARTICLE XI                                        Arbitrators cannot agree, then the case must be brought
               .JOINT ARBITRATION COMMITTEE                                to the Full Committee. If one Arbitrator does not appear,
                                                                           that Arbitrator can bring the case to the Full Committee if
     (a) All disputes and controversies arising out of and under           such referral is made within three (3) days after a decision.
       this Agreement or related thereto shall be settled by               The complainant or defendant shall have no right to bring
      arbitration as provided herein with proper speed. The               the case to the Full Committee if the Arbitrators agree
      peaceable resolution of all disputes is of the essence.              on a decision. If the Arbitrators agree on a decision that
      There shall be a Joint Arbitration Committee (hereinafter            decision shall be final. If the Arbitrators do not decide the
      "Full Committee") of not less than six (6) or more than              case within ten (10) business days, either the complainant
      ten (10) members with an equal number appointed by the              or defendant may bring the case to the Full Committee.
      Union and the Association. The Full Committee shall                 The Full Committee shall hear and decide the case within
      make its own rules and formulate its own procedure, not             twenty (20) days of the date the Arbitrators cannot agree
      otherwise contrary to the provisions herein. The Full               on the case and is brought to the Full Committee. If
      Committee shall designate a person to receive complaints            the complaint and/or dispute is not resolved within the
      and/or disputes. All complaints and/or disputes shall               time limited by the Full Committee, then either the
      be submitted in writing to the person so designated by              complainant or defendant maY request final arbitration by
     the Full Committee. All complaints shall first be heard              a neutral third party Arbitrator. Within five (5) days from
      and arbitrated by an Executive Committee within ten                 the failure of the Full Committee to resolve the complaint
      (10) business days after such complaints and/or disputes            and/or dispute, the Association and Union shall agree
     are presented in writing to the person designated by                 upon the appointment of a neutral third party Arbitrator
      the Full Committee to receive them. The Executive                   from the American Arbitration Association of New York
     Committee shall be composed of two (2) Arbitrators,                  City. If the Association and Union do not agree then the
     one (1) Arbitrator, a representative appointed by the                American Arbitration Association of New York City
     Union, and one (1) Arbitrator, a representative appointed           shall designate the neutral third party Arbitrator. The
     by the Association. Neither representative shall be the             Arbitrator shall immediately hold hearings and render
     complainant nor the defendant. The Executive Committee              the award with dispatch, the award to be final, binding
     shall hear a case and settle it. The complainant and                and conclusive. No Arbitrator designated under this
     the defendant may present their case to the Executive               Agreement shall have the right to alter, modify or amend
     Committee. If the complainant or defendant or both or               it. ~II final awards shall be in writing signed by the
     one of the Arbitrators do not appear at the hearing, a              Arbitrator as representing the agreed award and shall
     decision may be rendered in their absence provided all              be enforceable in Federal and State Court under the
     parties and the Arbitrators have been given five (5) days           applicable law.
     written notice ofthe hearings by regular mail, express delivery,
     telefax or e-mail (two forms of notice required). If the

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           The Arbitrators, whether Executive Committee, Full              Once a plumbing contract has been awarded, the
        Committee or other Arbitrators, shall have the authority
        to award money damages and payments including interest           Committee cannot grant adjustments to this Agreement.
        and penalties, impose a special job or shop steward or           The Joint Committee may adopt additional rules
        other remedy or relief. Whenever it is not possible or           and regulations for the proper administration of the
        practical to identify particular Employees who have              Committee, with the approval of the Joint Negotiating
        suffered a financial loss due to an Employer's breach of         Committee.
        this Agreement, the parties may agree, or an arbitrator(s)
        may so order, that any payment due as a result of the                            ARTICLE XIII
        Employer's breach to be paid to the Trade Education Fund                 INTERPRETATION OF AGREEMENT
        and/or the Welfare Fund.
        (b)   The defendant shall be liable for any damages, back          The parties hereto agree that this Agreement shall
        pay/fringes, fines, penalties or other awards only up to a       constitute the only prevailing terms and conditions of
        maximum period of two (2) years immediately preceding the        employment for all Employees covered herein during the
        filing ofthe complaint pursuant to Sub-paragraph (a).            period hereinabove specified. The Union agrees that no
                                                                         more favorable terms and conditions shall be granted to
                       ARTICLE XII                                       any Employer of such Employees.
         JOB TARGET AND MARKET RECOVERY PROGRAM
           The parties have agreed to form a Joint Committee to                         ARTICLE XIV
        target specific jobs. The sole purpose of this program                INSPECTION OF BOOKS AND RECORDS
        is to secure additional employment opportunities
        for Local Union No. 1 members and the signatory                     The Employer agrees to keep his/her labor payrolls,
        contractors within this jurisdictional area. The Job             job time books and compensation books available
        Target Committee shall consist of three (3) Management           for joint inspection by representatives of the Union,
        Representatives and three (3) Union Representatives, who         the Association and the Accountant of the Plumbing
        shall meet on a regular basis. A quorum will consist of          Industry Board who shall be permitted to examine same
        two (2) Management Representatives and two (2) Union             to determine if the Employees are receiving wages as
        Representatives. The committee will review all available         provided for in this Agreement, also to check the Fringe
        information. In an area where a problem exists with non-         Benefits, Compensation and Insurance payments. This
        signatory competition, there may be adjustments to this          does not mean cost and progress records at job or office.
        Agreement made in order to increase the competitiveness          The Employer agrees to provide adequate Workmen's
        of the signatory contractors. A majority vote of the             Compensation Insurance, Unemployment Insurance,
         Committee shall be required for any project adjustments.        Social Security, Disability Insurance or any other fund
        The decision of the Joint Committee will be sent to all          mutually agreed upOn by both parties, and any such
         signatory contractors.
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       other insurance required ·under the statutes or otherwise      by incorporated minutes. Where Management Trustees
       under the City of New York, United States government,          are to be appointed, they shall be appointed by the
       or any other division, Agency or Bureau of any of them.        Association. Where Labor Trustees are to be appointed
       Each Employer shall provide all such insurance even            they shall be appointed by the Union.                 '
       though two (2) persons or less are in his/her employ,
       all in accordance with the Jaw of the locality where the        BOARD TO RECEIVE FRINGE BENEFITS
       work is done. Fm1her, if court action is commenced to           PAYMENT: The Joint Plumbing Industry Board shalJ
       compel such an audit because of failure of the Employer        continue to receive, beginning with the effective date of
       to provide such books and records within twenty (20)           this Agreement, from each Employer all Fringe Benefits
       days after a request by certified mail, the Employer           and Contributions mentioned in this Agreement. The
       shall pay to the Board the sum of $5,000 or a greater          Joint Plumbing Industry Board shall have the right
       sum constituting reasonable attorney's fees, for the cost      to proceed directly to collect all fringe benefits and
       of bringing court action to compel compliance with this        contributions in an action in Federal and State court
       provision. If monies are found to be owing, the Employer       without first resorting to any arbitration procedure under
       shall pay the cost of the audit.                               this contract.

                        ARTICLE XV                                                      ARTICLE XVI
              JOINT PLUMBING INDUSTRY BOARD                                        CONTRACT TERMINATION

       COMPOSITION OF BOARD:                 There is a Joint        EFFECTIVE DATE TERMINATION DATE                       120
       Plumbing Industry Board in the jurisdiction of Local          DAY CONFERENCE PROVISION
       Union No. 1 which consists of an equal number of Union
       representatives and bonafide established contractors who      This Agreement shall be in full force and effect as of
       employ Journeymen and Helpers within the jurisdiction         October 1, 2013 and shall remain in force until September
       of Local Union No. 1. The Employer agrees to be bound         30, 2016. One hundred and twenty (120) days prior to the
       by the provisions of the Trust Agreements pertaining to       expiration of this Agreement a conference of all Parties
       Pension, (including the Plumbers and Pipefitters National     hereto shall be held for the purpose of consummating a
       Pension Fund) Welfare, Additional Securities Benefits,        new Agreement.
       Trade Education, 401{k) Savings Plan and any other
       established funds and the rules and regulations of            The undersigned Employer and individual signatory
       such Funds and Trust Agreements pertaining to                 acknowledges that Local Union No. 1 of the United
       the Joint Plumbing Industry Board and the rules               Association of the Plumbing and Pipe Fitting Industry
       and regulations thereof and Amendments thereto                of the United States and Canada claims to represent
                                                                     a majority of the bargaining unit, and the Employer

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      acknowledges and agrees, that based upon Local Union
      No. 1 having presented or offered evidence of majority
      support, that a majority of its Employees have authorized
      Local Union No. 1 to represent them in collective bargaining,
      and the Employer hereby recognizes Local Union No. 1 as                     JOINT NEGOTIATING
      the exclusive bargaining representative under section 9(a)                COMMITTEE SIGNATORIES
      of the National Labor Relations Act of all full time and                          FOR THE
      regular part time Plumbers on all present and future job           ASSOCIATION OF CONTRACTING PLUMBERS
       sites within the jurisdiction of Local Union No.1.                    OF THE CITY OF NEW YORK, INC.

       Any entity wishing to abrogate this Agreement must
       notify both the Association and the Union in writing
       by certified mail a minimum of one hundred and eighty
                                                                                       Robert Greenberg
       (180) days prior to the expiration date of this Agreement.                      Lawre1ice J. Levine
                                                                                       CO-CHAIRMEN
                           ARTICLE XVII
                          UNION SECURITY
                                                                                        George Bassolino

       UNION MEMBERSHIP - A CONDITION OF                                                 Irwin Brenner
       EMPLOYMENT: All members of the Union employed
       by the members of the Association and by the Employers                             Marc Breslaw
       who agree to be bound by this Agreement shall remain
       members in good standing in the Union during the life                               Scott Lyons
       of the Agreement or any renewal or extension thereof as
       a condition of employment. All Employees thereafter                             C. Theodore Vitanza
       employed must become members of the Union within
       sixty (60) days and remain members in good standing in                            Stewart O'Brien
        the Union as a condition of employment for the period                    EXECUTIVE VICE PRESIDENT
        or periods mentioned above. Tn the event that during the
        term of this Agreement there is a change in the law which
        will permit a greater degree of Union security to the
        Union, such Union security as provided above shall be
         modified so as to provide the maximum degree of Union
         security permitted by such change in the law.
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                                                                   COLLECTIVE BARGAINING AGREEMENT
                                                                       EFI•'ECTIVE OCTOBER 1, 2013
                                                                   PLUMBERS AND GASFITTF.RS LOCAL UNION N0.1
                                                                                   OF THE                                      I
                                                           UNITED ASSOCIATION OF JOURNEYMEN AND APPRENTICES OF THE         '
                                                                                    PLUMBiNG
                                                           AND PlPE FITilNG INDUSTRY OF THE UNITED STATES AND CANADA
                                                                                  NEW YORK CITY
                                                                  INDEPENDENT MECHANICAL EQUIPMENT
                                                                         AND SERVICE DIVISION
                   SIGNATORIES FOR
             PLUMBERS LOCAL UNION NO. 1. U.A.             The undersigned Plumbing Contractor and individual
                                                          signatory agree to be boutid by all provisions of the
                                                           Collective Bargaining Agreement between Plumbers Local
                        John J. Mwphy                      Union No.1 of the United Association of Journeymen and
                         CHAIRMAN                          Apprentices of the Plumbing and Pipe Fitting Industry of
                                                           the United States and Canada and the Association of
                                                           Contracting Plumbers of the City ofNew York, Inc. and any
                       Michael Apuzzo
                                                           amendments, renewals and extensions that may hereafter be
                                                           made by the parties tb the Agreement. The undersigned
                     Donald T. Doherty Jr.                 individual signatory contractor acknowledges that Local
                                                           Union No. 1 claims to represent a majority of the bargaining
                        Richard Garner                     unit, and the contractor aclmowledges that, based upon
                                                           Local 1 having offered evidence of same, that a majority of
                        Daniel Lucarelli                   the employees have authorized the Union to represent them
                                                            in collective bargaining and the contractor recognizes Local
                        Paul O'Connor                       1 as the exclusive bargaining representative of employees
                                                            covered by the Collective Bargaining Agreement. The
                       Raymond Rondino                     undersigned individual signatmy acknowledges that he/she
                                                            has received a complete copy of the Collective Bargaining
                                                            Agreement, effective October 1, 2013 and has read it in its
                                                            entirety. The undersigned Plumbing Contractor and
                                                            individual signatory agree to be bound to all agreements,
                                                            declarations oftmst, amendments and regulations thereto,
                                                            referenced in the Collective Bargaining Agreement. All
                                                             contributions shall be remitted as set forth under the
                                                             Collective Bargaining Agreement and declarations of
                                                             trusts, amendments and regulations thereto, referenced in
                                                             the Collective Bargaining Agreement. The undersigned
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       agrees to be bound by any amendments to the Collective               Employer (Individual/Firm/Corporate)
       Bargaining Agreement and all amendments and regulations              PLEASE PRJNT CLEARLY
       of the aforesaid declaration of trusts and anything
       supplementary thereto as adopted by the aforesaid
                                                                            Business Natne .............................. .
                                                                            Address............................................. ............................... .
                                                                                                                                                                        'i
                                                                                                                                                                        :~ \
                                                                            E-Mail.........        ............................................... .                      I
       Association and aforesaid Local Union or their
                                                                            Telephone No ............................................. .
       designated trustees. The undersigned Plumbing Contractor                                                                                                           i
       and individual signatory agree that the Collective                   Fax No ....
                                                                            Name of Gov't Agency
       Bargaining Agreement to which they shall be bound shall              Issuing Plumbds License.....                    .. .................. ..
        continue in effect until and including September 30,2016,           License No..........................                    ................. .
        and during each year thereafter unless or on or before the          Name/Title of Person Signing ............................................... .
        thirtieth (30th) day of March, 2016, or on or before the            If no NYC Plumbing License, provide description of work
        thirtieth (30th) day of March of any year thereafter, written       firm will provide ..................................................................... .
        notice of termination or proposed changes shall have been                       ................... ····················································
        served by either party on the other pmiy via certified or            Employer Identification No. (EIN) ................... .
        registered mail.                                                     Name/Title of Person Signing ....
                                                                             Signature .................... .
                                                                             Date of Signing .......................... .
                                                                             Plumbers Local Union No.1
                                                                             Name/Title of Person Signing ..
                                                                             Signature .............. ..
                                                                             Date of Signing ........................ ..

                                                                                          158-29 GEORGE MEANY BOULEVARD
                                                                                             HOWARD BEACH, NEW YORK 11414
                                                                                                          PHONE (718) 738-7500
                                                                                                           FAX (718) 835-0896




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                                                                               PLUMBERS AND PIPEFITTERS
                                                                                 NATIONAL PENSION FUND
                                                                       Revised Standard Form of Participation Agreement

                                                                      The undersigned Employer and Union agree that the
                                                                      Employer shall make pension contributions to the
                                                                      National Pension Fund in accordance with the terms of

             PENSION                                                  this Agreement on behalf of those Employees who are
                                                                      covered by the National Pension Fund pursuant to the
                                                                      Collective Bargaining Agreement.
              TRUST                                                    1 a) Commencingwiththefirstdayof               ,20_,
                                                                            and for the duration of the current Collective
            AGREEMENT                                                       Bargaining Agreement between the parties, any
                                                                            renewals or extensionS thereof, the Employer agrees
                                                                            to make payments to the Plumbers and Pipefitters
                                                                            National Pension Fund for each Employee who is in
       UNITED ASSOCIATION PENSION PLAN- Employers
                                                                            each classification listed below in accordance with
       agree to make contributions to the Plumbers and Pipefitters
                                                                            the Collective Bargaining Agreement as follows:
       National Pension Fund in accordance with the Standard                                                         Effective
       Form of Participation Agreement as on file at the Joint
                                                                       Classification            Amount
       Plumbing Industry Board and made as part of this
                                                                       Journeyman                     per hour
       Agreement                                                                                      per hour
                                                                       Helper
                                                                       Other (specify)                per hour

                                                                       Any classification of Employees who are excluded from
                                                                       the Plan pursuant to good faith bargaining and for whom
                                                                       contributions are not required shall not participate in the
                                                                       Plan. Persons in such excluded classifications shall not
                                                                       be considered "Employees" for purposes of the Plan and
                                                                       this Standard Form of Participation Agreement.
                                                                        b) The Employer shall make the contributions set out in
                                                                            subparagraph l(a) for each hour or portion thereof,


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           for which an Employee is paid or entitled to payment
                                                                                Employer so adopting the Restated Agreement and
           for performance of duties for the Employer. (Each
                                                                                Declaration ofTrust thereby ratifies, accepts and des-
           overtime hour shall be counted as one regular hour
                                                                                ignates as its representatives the Employer Trustees
           for which contributions are payable.)
                                                                               when serving as such and authorizes said Employer
        c) Contributions set o~t in subparagraph l(a) above
                                                                               Trustees to designate additional Employer Trustees
           shall be paid starting with the Employee's first day
                                                                               and successor Employer Trustees in accordance with
           of employment in a job classification covered by the
                                                                               the terms and conditions thereof, and authorizes the
           Collective Bargaining Agreement.
                                                                               Trustees to adopt amendments to the Restated Agree-
        d) The Employer shall continue contributions to the                    ment and Declaration of Trust. The Employer hereby
           Fund for any compensated Employees who were                         acknowledges receipt of a copy of the Restated
           previously covered by the Fund as members of the                    Agreement and Declaration of Trust in effect when
           bargaining unit and who are continuing to perform                   this Agreement is signed.
           work of the type covered by the Collective Bargain-
                                                                          3.   It is agreed that the Pension Plan adopted by the
           ing Agreement for at least half of their hours with the
                                                                               Trustees of the said· Pension Fund shall at all times
           Employer. It is understood that the Employer may
                                                                               conform with the requirements of the Internal Rev-
           not make contributions on behalf of an Employee
                                                                               enue code so as to enable the Employer at all times to
           who owns, or whose spouse owns, 10% or more of
                                                                               treat contributions to the Pension Fund as a deduction
           the corporation unless it signs and abides by a Partici-
                                                                               for income tax purposes.
           pation Agreement covering such owner Employees.
           Tt is also agreed that the Employer shall not make             4.    It is agreed that all contributions shall be made at
           contributions to the Fund on behalf of any Employees                such time and in such manner as the Trustees require,
           other than those specified herein or in a separate                  and the Trustees shall have the authority to retain an
           participating agreement.                                            accountant or accounting firm to perform payroll
        2. The payments to the Pension Fund required above                     audits of the Employer to determine whether the cor-
           shall be made to the "Plumbers and Pipefitters Na-                  rect amount of contributions have been made or to
           tional Pension Fund" which was established under an                 determine whether contributions have been made on
           Agreement and Declaration of Trust, dated July 23,                  behalf of all Employees covered by the Plan.
           1968 and restated December 13, 1978. The Employ-               5.    If an Employer fails to make contributions to the
           er, by signing this Standard Form of Participation
           Agreement, or by signing a Collective Bargaining
                                                                               Pension Fund within twenty {20) days of the end of
                                                                               the month during which the work was performed,            il
           Agreement providing for participation in the Plumb-                 the Union shall have the right to take whatever steps     r!
           ers and Pipefitters National Pension Fund, agrees to                are necessary lo secure compliance, any provision of
           be bound by all of the terms and conditions of the                  the Collective Bargaining Agreement to the contrary       II
           Restated Agreement and Declaration of Trust. Any                    notwithstanding, and the Employer shall be liable for     II,
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                                                                                                    -39-                                 II[
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                                                                                             Notes
              all costs and expenses for collecting the payments
              due, together with attorneys' fees, interest on the un-
              paid contributions of twelve percent ( 12%) per annum
              and liquidated damages of ten percent (10%) of
              the unpaid contributions. The Employer's liability for
              payment hereunder shall not be subject to the griev-
              ance or arbitration procedure or the "no-strike" clause
              provided under the Collective Bargaining Agreement.
         6.   The parties agree that this Participation Agreement
              shall be considered a part of the Collective Bargain-
              ing Agreement between the undersigned parties.
         7. The expiration date of the present Collective Bar-
            gaining Agreement between the undersigned parties
            is                  , 20 _ . Copies of the Collec-
            tive Bargaining Agreements and all renewal or ex-
            tension agreements will be furnished promptly to the
            Pension Fund office and, if not consistent with this
            Participation Agreement, can be used by the Trustees
             as the basis for termination of participation of the
            Employer.
         For Local Union No. ___ , United Association

         by ___~~-~-=~~~~----
                   (Authorized Union Officer)
         For the Employer*

                       (Insert Name of Employer)
          Address: ______________________________

          by __~~------~--~~--~------
                   (Authorized Officer of Employer)
          Date                 , 20 -,------::--
          *If Employer Association, attach a list of the names
          and addresses represented by Association.
                                                                                              -41-
                                     -40-
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                                              .:.1.•·. .•.:•-.i.:,·;···.;···;··.•.·.·••
                      Notes                   ~tc,~ffe;_- know of no trade, business or calling in the community
                                              ,;kJ;-ty_Nch, more vitally affects the public health and safety of city
                                              /:,:,~(;ij,yellers than that ofplumbing."
                                                                · ·                                        People vs. Hartford, 286, N.Y.
                                                                                                                                477,485
                                                                                                             New York Court of Appeals
                                              >/}/'

                                              ±);_j:~-n excellent plumber is definitely more admirable than an
                                              j::_,>;i?,competent philosopher.. The Society which scorns excellence
                                               ;;:yJ~.Jllumbing because plumbing is a humble activity and toler-
                                              :;;::!;if;l_,feSshoddiness in philosophy because it is an.exalted activity
                                              f:Y~Jvill have neither good plumbing nor good philosophy. Neither
                                              6:\)_irs pipes nor its theories will hold water. "
                                                  ·                                                -John W .Gardner

                                              ,-.·:----'7/ I had my life to live over again, I would choose the
                                                   ·plumbing trade. "
                                                                                               ~Albert Einstein


                                                                         "Inevitably those who could make water serve the community
                                                                         acquired something of the stature of gods."
                                                                                                                     ~ Robert Payne




                                                                                          "GOOD HEALTH THROUGH GOOD PLUMBING"




                      -44-
